      Case 2:22-cv-01644-JMG       Document 89    Filed 03/26/25   Page 1 of 21




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
JOSEPH SIMMONS,                               :
                                              :
                          Plaintiff,          :
                                              :            Civil Action
                   v.                         :            No. 22-1644
                                              :
CITY OF PHILADELPHIA, et al.,                 :
                                              :
                          Defendants.         :


                                        ORDER

      AND NOW, this _________ day of __________________, 2025, upon consideration of

Defendant Charmaine Campbell’s Motion to Dismiss, it is HEREBY ORDERED that the Motion

is GRANTED and the claims against Defendant Campbell is DISMISSED WITH PREJUDICE.




                                              BY THE COURT:



                                              JOHN M. GALLAGHER, J.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
JOSEPH SIMMONS,                                      :
                                                     :
                              Plaintiff,             :
                                                     :               Civil Action
                       v.                            :               No. 22-1644
                                                     :
CITY OF PHILADELPHIA, et al.,                        :
                                                     :
                              Defendants.            :


  DEFENDANT CAMPBELL’S PARTIAL MOTION TO DISMISS FOR FAILURE TO
                         STATE A CLAIM

       Defendant, Sergeant Charmaine Campbell, hereby files this Motion to Dismiss for Failure

to State a Claim pursuant to Federal Rule of Civil Procedure 12(b)(6). In support of this motion,

the Defendant incorporates the attached Memorandum of Law. Defendant respectfully requests

that this Court dismiss the claims asserted against her with prejudice.



Date: March 26, 2025                                 Respectfully submitted,
                                                     /s/ Emily M. Hoff
                                                     Emily M. Hoff
                                                     Assistant City Solicitor
                                                     Attorney I.D. No. 330859
                                                     City of Philadelphia Law Department
                                                     1515 Arch Street, 14th Floor
                                                     Philadelphia, PA 19102
                                                     Attorney for Charmaine Campbell
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
JOSEPH SIMMONS,                                        :
                                                       :
                               Plaintiff,              :
                                                       :               Civil Action
                       v.                              :               No. 22-1644
                                                       :
CITY OF PHILADELPHIA, et al.,                          :
                                                       :
                               Defendants.             :


    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CAMPBELL’S MOTION
              TO DISMISS FOR FAILURE TO STATE A CLAIM

       Plaintiff Joseph Simmons (“Plaintiff”) seeks to sue the Defendant Charmaine Campbell for

violations of the Fourteenth Amendments under 42 U.S.C. § 1983, even though his claims against

Defendant Charmaine Campbell (“Added Defendant”) is barred by the statute of limitations.1

Accordingly, the Court should dismiss the claims asserted against her with prejudice.

I.     BACKGROUND

       In his Fifth Amended Complaint, Plaintiff alleges that, while incarcerated at Curron

Fromhold Correctional Facility (“CFCF”), on February 21, 2021, he was victim to both physical

and sexual assaults by his then-cellmate. Fifth Amended Compl., ECF No. 84 at ¶1. Plaintiff avers

that he requested to be moved to another cell. Id. This request was made to another defendant. Id.

As to Defendant Campbell, Plaintiff alleges that “on the 11 pm [to] 7 am overnight shift beginning

on or about February 21st, 2021, [she] failed to address or investigate Simmons’ reports that his

life was in danger and failed to assign a correctional officer to supervise the block.” Id. at ¶ 21.


1
 While the undersigned does not currently represent the other, unserved newly added defendants,
Ryan Thomas and Jermaine Holmes, it is worth highlighting to the Court that these same
arguments apply to those individuals.
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II.    PROCEDURAL HISTORY

       Plaintiff filed a complaint on April 27, 2022, wherein he named only CO Wilson as to the

portion of the complaint that related to the February 2021 incident. See ECF No. 2. Counsel for

the City produced the logbooks listing all persons who would have been staffing CFCF on

September 26, 2024. 2 See Appendix A. Plaintiff waited until March 11, 2025, to file an Amended

Complaint naming Sergeant Campbell as a Defendant. ECF No. 84. Defendant Campbell, through

counsel, waived service on March 19, 2025.

       As will be argued more fully below, Plaintiff’s claims against the Added Defendant in the

Fifth Amended Complaint are barred by the applicable statute of limitations.

III.   ARGUMENT

       A. The Court Should Dismiss All Claims Against the Added Defendant as the Statute
          of Limitations Had Run on Plaintiff’s Claims Against Her.

           1.          Plaintiff’s Claim against the Added Defendant was Time-Barred When He
                       Filed the Amended Complaint.

       The Court should grant this motion and dismiss all claims against the Added Defendant

because the statute of limitations bars Plaintiff from suing her. The “statute of limitations for a §

1983 claim arising in Pennsylvania is two years.” See McCreary v. Redevelopment Auth., 427 F.

App’x 211, 214 (3d Cir. 2011). The statute of limitations begins to run when the plaintiff's cause

of action accrues. Romero v. The Allstate Corp., 404 F.3d 212, 221 (3d Cir.2005). Further, under

the federal “discovery rule,” a federal claim accrues when the plaintiff discovers or should have

discovered the injury that forms the basis for the claim. Id. at 222. Using place holder John Doe



2
  Per the email chain attached in Appendix A, it is likely that the City produced the information as
early as September 18, 2024. The latter date is used for purposes of this motion. Plaintiff may also
assert that he did not receive the information until October 7, 2024. However, this analysis remains
the same, regardless of which date the Court uses.
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defendants does not stop or toll the applicable statute of limitations. Talbert v. Kelly, 799 F.2d 62,

66 n. 1 (3d Cir.1986).

        Here, the alleged assaults against Plaintiff Simmons occurred on February 21, 2021. ECF

No. 84 at ¶1. Plaintiff’s statute of limitations began on February 21, 2021 and ended February 21,

2023. Plaintiff did not sue the Added Defendant until March 11, 2025, more than two years after

the statute of limitations ran and over five months 3 after knowing the identities of the possible

John/Jane Doe CFCF employees. Because Plaintiff named the Added Defendant outside of the

statute of limitations period, his claims against her are time-barred unless he can satisfy the

requirements of relation back as provided in Federal Rule of Civil Procedure 15(c). See Garvin v.

City of Philadelphia, 354 F.3d 215, 220 (3d Cir. 2003).

        2.     Plaintiff cannot establish the notice requirements of relation back.

       An amendment “relates back to the date of the original pleading” only when the

requirements of Rule 15(c) are met. Fed. R. Civ. P. 15(c)(1). Plaintiff has the burden showing he

has met the relation back requirements of Rule 15(c). See Jackson v. City of Philadelphia, 2019

WL 883989, at *3 (E.D. Pa. Feb. 22, 2019). Specifically, for the purposes of this motion, Plaintiff

has the burden of proving that “within the period provided by Rule 4(m) for serving the summons

and complaint, the party to be brought in by amendment: (i) received such notice of the action that

it will not be prejudiced in defending on the merits; and (ii) knew or should have known that the

action would have been brought against it, but for a mistake concerning the proper party's identity.”

Fed. R. Civ. P. 15(c)(1)(C). This is a notice requirement. This means that the “parties to be brought



3
  Should the Court use the September 17, 2024, date for receipt of the names, this would be 175
days since receipt. Should the Court use the September 26, 2024, date for receipt, this would be
166 days since receipt. Should the Court use the October 7, 2024, date, this would be 155 days
since receipt of the information. Each possible calculation exceeds five months.
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in by amendment must have received notice of the institution of the action within [90] days 4

following the filing of the action.” Garvin, 354 F.3d at 220. Plaintiff does not plead any facts in

the Amended Complaint to show that this notice requirement has been met.

       i.      There is no actual or imputed notice to the Added Defendants

       Plaintiff has the burden of showing that the notice requirement of Rule 15(c) has been met.

Garvin, 354 F.3d at 222. Plaintiff does not plead there was any actual notice to Added Defendants.

Absent evidence that the party to be brought in by amendment had actual notice of the lawsuit, a

plaintiff must rely on the either the “shared attorney” method or the “identity of interest” method

to add a new party to his lawsuit. See id. at 222-23.

       A Plaintiff seeking to rely on the “shared attorney method” must show that “notice of the

institution of [an] action can be imputed to [a newly named defendant] . . . by virtue of

representation [that the newly named defendant] shared with a defendant originally named in the

lawsuit.” See Singletary v. Pa. Dep’t of Corrs., 266 F.3d 186, 196 (3d Cir. 2001). In order to

make this showing, a plaintiff must plead facts which plausibly suggest that there was “some

communication or relationship” between the attorney for an originally named party and the party

to be added to a lawsuit. See Gavin, 354 F.3d at 225. Moreover, a plaintiff must adequately allege

that this communication or relationship developed within 90 days of the filing of the lawsuit. See

id. If a plaintiff fails to plead facts which plausibly suggest a “shared representation or




4
  Although Garvin refers to a 120-day requirement rather than a 90-day requirement, Rule 15(c)
requires that a newly named party receive notice of a lawsuit “within the period provided by Rule
4(m) for serving the summons and complaint,” and this period was changed from 120 days to 90
days.
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communication” between a newly named party and an attorney for the originally named party,

then a court should not permit the newly named party to be sued. See id.

        Here, Plaintiff has failed to plead facts in his Fifth Amended Complaint which plausibly

suggest that the Added Defendant and the undersigned counsel have communicated about this

case, and he certainly has not pled facts which suggest that such communication occurred within

the 90 days after the filing of the original complaint. And the fact that Added Defendants would

likely have been represented by the Philadelphia Law Department is not enough to impute notice

under the “shared attorney method.” See Jackson v. City of Philadelphia, 2019 WL 883989, at *4

(E.D. Pa. Feb. 22, 2019) (stating that the “Third Circuit has distanced itself from the theory that

likely shared or collective representation by a City attorney's office alone is sufficient to

demonstrate the “communication or relationship” necessary to impute notice to newly named

officers). Therefore, Plaintiff cannot rely on the “shared attorney method,” and the statute of

limitations bars him from suing the Added Defendants.

        If Plaintiff seeks to utilize the “identity of interest method” his claims would likewise fail.

Parties share an identity of interest when they “are so closely related in their business operations

or other activities that the institution of the action against one serves to provide notice of the

litigation to the other.” Singletary v. Pennsylvania Dep't of Corr., 266 F.3d 186, 197 (3d Cir. 2001);

Gavin, 354 F.3d at 227.

        No such shared “identity” exists between the originally named defendant, here Corrections

Officer Wilson, and the Added Defendants, and Plaintiff has not demonstrated any such identity

of interest in his Fifth Amended Complaint. See Brown v. McElwee, 2012 WL 5948026, at *6

(E.D.Pa. Nov. 7, 2013) (declining to impute notice even though a police officer originally named

in the complaint and not dismissed in the proposed amended complaint shared an office with a
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police officer proposed as a defendant). Police Officers are not imputed notice just because their

employer is sued. Garvin, 354 F.3d at 227. Police Officers must be “highly enough placed” in the

management structure of the City of Philadelphia to share the same interests, and no such facts are

pled here. Id. (holding that the “individual police officers sought to be added to this action certainly

qualify as non-managerial employees” and agreeing with District Court that “they do not share a

sufficient nexus of interests with their employer, the City”). The Court should apply the same

analysis to Corrections Officers here.

        Accordingly, because the statute of limitations on all of Plaintiff’s claims ran on all the

Added Defendants before the Amended Complaint was filed, and because Plaintiff cannot

establish the notice requirement of relation back, Plaintiff’s Claims against the Added Defendant

should be dismissed with prejudice.

IV.     CONCLUSION

        For the reasons set forth above, Defendant Campbell respectfully request that the Court

dismiss the claims asserted against her with prejudice.



Date: March 26, 2025                                    Respectfully submitted,

                                                        /s/ Emily M. Hoff
                                                        Emily M. Hoff
                                                        Assistant City Solicitor
                                                        Attorney I.D. No. 330859
                                                        City of Philadelphia Law Department
                                                        1515 Arch Street, 14th Floor
                                                        Philadelphia, PA 19102
                                                        Attorney for Charmaine Campbell
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
JOSEPH SIMMONS,                                      :
                                                     :
                              Plaintiff,             :
                                                     :              Civil Action
                       v.                            :              No. 22-1644
                                                     :
CITY OF PHILADELPHIA, et al.,                        :
                                                     :
                              Defendants.            :


                                CERTIFICATE OF SERVICE

       I hereby certify that on the date below, the Defendants’ Motion to Dismiss was filed via

the Court’s electronic filing system and is available for downloading.

Date: March 26, 2025                                 Respectfully submitted,

                                                     /s/ Emily M. Hoff
                                                     Emily M. Hoff
                                                     Assistant City Solicitor
                                                     Attorney I.D. No. 330859
                                                     City of Philadelphia Law Department
                                                     1515 Arch Street, 14th Floor
                                                     Philadelphia, PA 19102
                                                     Attorney for Charmaine Campbell
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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
JOSEPH SIMMONS,                                      :
                                                     :
                              Plaintiff,             :
                                                     :              Civil Action
                       v.                            :              No. 22-1644
                                                     :
CITY OF PHILADELPHIA, et al.,                        :
                                                     :
                              Defendants.            :

                                 CERTIFICATE OF COUNSEL

       The Court’s Policies And Procedures require a meet and confer regarding the alleged

pleading deficiencies. Counsel did not meet and confer regarding this motion. I hereby certify that

Counsel for Defendants conferred with Counsel for Plaintiff on March 20, 2025, via zoom video

conference to discuss this motion.

Date: March 26, 2025                                 Respectfully submitted,

                                                     /s/ Emily M. Hoff
                                                     Emily M. Hoff
                                                     Assistant City Solicitor
                                                     Attorney I.D. No. 330859
                                                     City of Philadelphia Law Department
                                                     1515 Arch Street, 14th Floor
                                                     Philadelphia, PA 19102
                                                     Attorney for Charmaine Campbell
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                     Appendix A
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From:            Kathryn Faris
To:              Emily Hoff
Subject:         FW: Simmons Discovery Responses
Date:            Thursday, March 20, 2025 1:29:24 PM
Attachments:     image001.png
                 image002.png


Hopefully in here!

Kathryn Faris (she/her/hers)
Senior Attorney
Compliance Unit
City of Philadelphia Law Department
1515 Arch Street, 14th floor
Philadelphia, PA 19102
P: 215-683-6783*
C: (267) 592-7082
Kathryn.faris@phila.gov
www.phila.gov/law  

***Please note the recent changes to my contact information***



From: Nia Holston <nia@alcenter.org>
Sent: Tuesday, October 8, 2024 1:18 PM
To: Jessica Gooding <jgooding@mceldrewpurtell.com>
Cc: Colin Haviland <chaviland@mceldrewpurtell.com>; John Coyle <jcoyle@mceldrewpurtell.com>;
Jordan Freeland <jordan.freeland@phila.gov>; Kathryn Faris <Kathryn.Faris@Phila.gov>
Subject: Re: Simmons Discovery Responses

   External Email Notice. This email comes from outside of City government. Do not click on
links or open attachments unless you recognize the sender.




On Mon, Oct 7, 2024 at 5:05 PM Jessica Gooding <jgooding@mceldrewpurtell.com>
wrote:
  Good afternoon,

  Thank you, Katie.

  We received City_54-290. Would a Dropbox link for the additional documents (291-366)
  be helpful? Thank you.

  Congratulations, enjoy Japan!

  Jessica

  Jessica E. Gooding
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Paralegal
Civil Rights
McEldrew Purtell


jgooding@mceldrewpurtell.com
p: 215-545-8800 x 110
c: 610-952-3732
f: 215-545-8805
123 S. Broad St., Ste. 2250, Philadelphia, PA 19109
mceldrewpurtell.com




Attorneys Licensed in PA, NJ, NY, DC, TX, NM, AZ, CO, MA

Practice Areas - Catastrophic Injury & Wrongful Death: Birth Injury / Brain Injury / Trucking & Commercial Vehicle / Cargo
& Forklift / FELA & Railroad / Medical Malpractice / Excessive Force & Wrongful Conviction / Premises Liability,
Negligent Security & Dram Shop / Products Liability / Nursing Home Abuse, Neglect & Fraud / Toxic Exposure

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immediately notify us by telephone to arrange for return of the original documents to us.




From: Kathryn Faris <Kathryn.Faris@Phila.gov>
Sent: Monday, October 7, 2024 3:20 PM
To: Nia Holston <nia@alcenter.org>; Jessica Gooding <jgooding@mceldrewpurtell.com>
Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
<chaviland@mceldrewpurtell.com>; Jordan Freeland <jordan.freeland@phila.gov>
Subject: RE: Simmons Discovery Responses

I received some “undeliverable” responses for the emails I sent trying to provide the
discovery. As I said earlier, we’ve been having issues with sharepoint storage and
our ability to create remote links. In an effort to problem solve, I’m adding in my
Legal Assistant, Jordan Freeland.

Mr. Freeland will be available while I’m away (10/11-10/29) to help facilitate the
transfer of discovery to your office(s).

Thanks,
Katie
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From: Kathryn Faris
Sent: Monday, October 7, 2024 2:02 PM
To: Nia Holston <nia@alcenter.org>; Jessica Gooding <jgooding@mceldrewpurtell.com>
Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
<chaviland@mceldrewpurtell.com>
Subject: RE: Simmons Discovery Responses




From: Kathryn Faris
Sent: Monday, October 7, 2024 1:48 PM
To: 'Nia Holston' <nia@alcenter.org>; 'Jessica Gooding' <jgooding@mceldrewpurtell.com>
Cc: 'John Coyle' <jcoyle@mceldrewpurtell.com>; 'Colin Haviland'
<chaviland@mceldrewpurtell.com>
Subject: RE: Simmons Discovery Responses




From: Kathryn Faris
Sent: Monday, October 7, 2024 1:45 PM
To: 'Nia Holston' <nia@alcenter.org>; 'Jessica Gooding' <jgooding@mceldrewpurtell.com>
Cc: 'John Coyle' <jcoyle@mceldrewpurtell.com>; 'Colin Haviland'
<chaviland@mceldrewpurtell.com>
Subject: RE: Simmons Discovery Responses




From: Kathryn Faris
Sent: Monday, October 7, 2024 1:35 PM
To: 'Nia Holston' <nia@alcenter.org>; 'Jessica Gooding' <jgooding@mceldrewpurtell.com>
Cc: 'John Coyle' <jcoyle@mceldrewpurtell.com>; 'Colin Haviland'
<chaviland@mceldrewpurtell.com>
Subject: RE: Simmons Discovery Responses

Nia,

It came to my attention that some of the items in City 54-366 were not properly
redacted. Please disregard earlier versions of those documents and accept these
corrected versions here. I’ve put a read receipt on this email in case the file is too
large (our system very unhelpfully will not tell me if a file can’t be transmitted). I will
probably send the redacted versions in a few batches due to the size limitations of
my server.

Over the past several weeks we have been having issues with Microsoft
Sharepoint, which is what we use for our file management and for sharing secure
links with information. As of writing this email, I’m not able to send over any
    Case 2:22-cv-01644-JMG                                 Document 89                    Filed 03/26/25                   Page 15 of 21


productions because our system is down. I apologize for the inconvenience and will
update the Court with that information.

Thursday is my last day in the office until 10/29. I’ll be in Japan on my honeymoon
and won’t be accessible. I’m meeting with my Chief today to discuss case
management while I’m gone. If you need anything after Thursday please email
Danielle Walsh.

Thanks,
Katie

Kathryn Faris (she/her/hers)
Senior Attorney
City of Philadelphia Law Department
1515 Arch Street, 14th floor
Philadelphia, PA 19102
P: (215) 683-5445
C: (267) 592-7082
Kathryn.faris@phila.gov
www.phila.gov/law  




From: Kathryn Faris                                                                                                                                        
Sent: Monday, September 30, 2024 3:18 PM
To: Nia Holston <nia@alcenter.org>; Jessica Gooding <jgooding@mceldrewpurtell.com>
Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
<chaviland@mceldrewpurtell.com>
Subject: RE: Simmons Discovery Responses

Still working on the productions. I did give Ms. Gooding access so that should be
good.

I’m hoping to have another batch by the end of the week. Hopefully that will be it,
but if not I’ll give you a status update Friday.

Thanks,
Katie

From: Nia Holston <nia@alcenter.org>
Sent: Monday, September 30, 2024 3:14 PM
To: Kathryn Faris <Kathryn.Faris@Phila.gov>; Jessica Gooding <jgooding@mceldrewpurtell.com>
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Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
<chaviland@mceldrewpurtell.com>
Subject: Re: Simmons Discovery Responses

   External Email Notice. This email comes from outside of City government. Do not click on
links or open attachments unless you recognize the sender.

I will check, thanks! Also, any update on the rest of the discovery that was due
9/27?

And I believe that Jessica Gooding, paralegal from John's firm emailed you on
Friday about sharing the link to the discovery with her. Were you able to provide
that to her?

Thanks again,

Nia

On Mon, Sep 30, 2024 at 9:19 AM Kathryn Faris <Kathryn.Faris@phila.gov> wrote:
  Hi Nia,

  Do you have the player used for PDP videos? I think that player is included in the
  CD we sent. If you are still having issues let me know and I’ll loop in my support
  team to try to help.

  Thanks,
  Katie

  From: Nia Holston <nia@alcenter.org>
  Sent: Friday, September 27, 2024 11:37 AM
  To: Kathryn Faris <Kathryn.Faris@Phila.gov>
  Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
  <chaviland@mceldrewpurtell.com>
  Subject: Re: Simmons Discovery Responses

     External Email Notice. This email comes from outside of City government. Do not click on
  links or open attachments unless you recognize the sender.

  Katie -

  The link works but I cannot view the videos.

  Thanks,

  Nia

  On Thu, Sep 26, 2024 at 3:58 PM Kathryn Faris <Kathryn.Faris@phila.gov>
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   <chaviland@mceldrewpurtell.com>
   Subject: Re: Simmons Discovery Responses

      External Email Notice. This email comes from outside of City government. Do not
   click on links or open attachments unless you recognize the sender.

   Katie,

   I'm not sure why your email just came through about the two disks, I certainly
   would have loved to see it earlier! If you can put it in the mail to the
   below address, that would be great. I will verify with you when I receive it.

   Nia Holston
   Abolitionist Law Center
   990 Spring Garden
   Philadelphia, PA 19123

   Can you send over a discovery log via email? It doesn't need to be extensive,
   I just want to know the Bates numbers that have been passed as well as a
   list of videos so I can cross check them when I get a working disk drive. Even
   screenshots of the contents of the cd's on your end would be helpful.

   Thanks,

   Nia

   On Wed, Sep 18, 2024 at 11:20 AM Kathryn Faris
   <Kathryn.Faris@phila.gov> wrote:
     Nia,

     The 2nd disc is ready. Would you like me to leave it for pickup or put it in
     the mail for you?

     Thanks,
     Katie

     From: Kathryn Faris
     Sent: Tuesday, September 17, 2024 2:33 PM
     To: Nia Holston <nia@alcenter.org>
     Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
     <chaviland@mceldrewpurtell.com>
     Subject: RE: Simmons Discovery Responses

     Yes. But no one will be at the desk until 9am. Hopefully that’s ok! I’ll make
     sure it is at the front desk on 14 by the end of the day today.

     Thanks,
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     Katie

     From: Nia Holston <nia@alcenter.org>
     Sent: Tuesday, September 17, 2024 2:24 PM
     To: Kathryn Faris <Kathryn.Faris@Phila.gov>
     Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
     <chaviland@mceldrewpurtell.com>
     Subject: Re: Simmons Discovery Responses

        External Email Notice. This email comes from outside of City government. Do not
     click on links or open attachments unless you recognize the sender.

     Yes, a CD works. I would love to pick it up on my way into work, so do you
     think it could be made available first thing in the morning?

     On Tue, Sep 17, 2024 at 1:50 PM Kathryn Faris
     <Kathryn.Faris@phila.gov> wrote:
       Nia,

       Would a CD be ok? I can get that together and make it available for pick
       up tomorrow. If you need a flash drive I might need a little more time.
       They are also at a premium (government right?).

       Let me know,
       Katie

       From: Nia Holston <nia@alcenter.org>
       Sent: Tuesday, September 17, 2024 1:25 PM
       To: Kathryn Faris <Kathryn.Faris@Phila.gov>
       Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
       <chaviland@mceldrewpurtell.com>
       Subject: Re: Simmons Discovery Responses

         External Email Notice. This email comes from outside of City government. Do
       not click on links or open attachments unless you recognize the sender.

       Hi Katie,

       Thank you for the updates. I appreciate your efforts. Could the discovery
       be passed another way, perhaps via USB? I would be happy to pick it up
       from the office if necessary. Please let me know.

       Best,

       Nia
Case 2:22-cv-01644-JMG       Document 89       Filed 03/26/25       Page 20 of 21


       On Mon, Sep 16, 2024 at 3:54 PM Kathryn Faris
       <Kathryn.Faris@phila.gov> wrote:
        Hi Nia,

        My sincere apologies. We are having issues with sharepoint, which is
        our Microsoft cloud server. I’m working with IT to get this issue
        resolved and send it to you.

        Thanks for your patience,
        Katie

        From: Nia Holston <nia@alcenter.org>
        Sent: Wednesday, September 11, 2024 12:34 PM
        To: Kathryn Faris <Kathryn.Faris@Phila.gov>
        Cc: John Coyle <jcoyle@mceldrewpurtell.com>; Colin Haviland
        <chaviland@mceldrewpurtell.com>
        Subject: Re: Simmons Discovery Responses

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         not click on links or open attachments unless you recognize the sender.

        Thanks Katie. Do you happen to have any updates on this?

        On Fri, Sep 6, 2024 at 5:24 PM Kathryn Faris
        <Kathryn.Faris@phila.gov> wrote:
          Attached please find Defendants’ written responses.

          As part of the rolling production I will provide a link to documents on
          Monday. For some reason they are uploading to the cloud and I
          cannot send the link today.    

          Have a good weekend,
          Katie

          From: Nia Holston <nia@alcenter.org>
          Sent: Friday, September 6, 2024 2:05 PM
          To: Kathryn Faris <Kathryn.Faris@Phila.gov>; John Coyle
          <jcoyle@mceldrewpurtell.com>; Colin Haviland
          <chaviland@mceldrewpurtell.com>
          Subject: Simmons Discovery Responses

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          Hi Katie,
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          Please find Plaintiff's Responses to Defendant's First Set of
          Requests for Production and Interrogatories attached to this email.

          Thanks,
          Nia

          --
          Nia Holston
          Staff Attorney
          Abolitionist Law Center
          nia@alcenter.org



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